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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                            CRIMINAL NO. 1:10-00185-11

AHMAD WATERSON

                      MEMORANDUM OPINION AND ORDER

     In Bluefield, on April 22, 2013, came the defendant, Ahmad

Waterson, in person and by counsel, Mary Lou Newberger, Federal

Public Defender; came the United States by Miller Bushong, III,

Assistant United States Attorney; and came United States

Probation Officer Sarah Harmon, for a hearing on the petition to

revoke the defendant’s term of probation.

     The court noted defendant’s January 14, 2013 appearance on

the petition to revoke defendant’s term of probation and the

court’s decision to hold the same in abeyance pending the birth

of the defendant’s child.      Thereafter, the court elicited the

defendant’s and the government’s positions on revocation

respectively.

     Both the defendant and his counsel stated that, since the

January 14, 2013 hearing, the defendant had both obtained a

mining license in order to apply for mining jobs in the area and

had been in regular contact with United States Probation Officer

Brett Taylor, allegedly abiding by all conditions required of

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the defendant by Officer Taylor.         The defendant asked the court

to consider his conduct since the January 14, 2013 hearing in

light of the conduct alleged in the petition to revoke his term

of probation.    Accordingly, the defendant asked to remain on

probation.

     The government did not oppose the defendant’s request and,

moreover, noted that the Probation Office of this court had

previously made a similar recommendation that the defendant

remain on probation.

     After hearing arguments from both sides, the court ORDERED

that the petition to revoke the defendant’s term of probation be

DISMISSED and he is to continue serving his previously imposed

term of probation subject to all the terms and conditions of

probation adopted by this court and any other additional terms

of probation ordered at the defendant’s sentencing.             The court

further ended defendant’s appearance bond.

     The court informs the defendant of his right to appeal the

court’s decision to dismiss the petition to revoke his term of

probation.   The court further informs the defendant that, in

order to initiate such an appeal, a Notice of Appeal must be

filed with this court within fourteen days.           The court advises

the defendant that if he wishes to appeal and cannot afford

counsel, the court will appoint counsel for him.            The court

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further advises the defendant that if he so requests, the Clerk

of Court will prepare and file a Notice of Appeal on his behalf.

     The Clerk is directed to forward a copy of this Memorandum

Opinion and Order to counsel of record, the United States

Marshals Service for the Southern District of West Virginia, and

the Probation Department of this court.

     IT IS SO ORDERED this 23rd day of April, 2013.

                                    ENTER:


                                    David A. Faber
                                    Senior United States District Judge




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